                         Case 3:20-cr-00249-RS    Document 42       Filed 01/27/21   Page 1 of 2




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                   9 Attorneys for Defendant Rowland Marcus
                     Andrade
                  10
                                                 UNITED STATES DISTRICT COURT
                  11
                                               NORTHERN DISTRICT OF CALIFORNIA
                  12
                                                    SAN FRANCISCO DIVISION
                  13
                     UNITED STATES OF AMERICA,                  Case No. 20-cr-00249-RS
                  14
                                    Plaintiff,                  NOTICE OF CHANGE OF FIRM NAME
                  15
                            v.                                  The Hon. Richard Seeborg
                  16
                     ROWLAND MARCUS ANDRADE,                    Trial Date:         None Set
                  17
                                    Defendant.
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3161-1003 / 1743627.1                             NOTICE OF CHANGE OF FIRM NAME
                          Case 3:20-cr-00249-RS        Document 42       Filed 01/27/21     Page 2 of 2




                    1         TO THE COURT, ALL PARTIES HEREIN AND TO THEIR COUNSEL OF RECORD:

                    2         PLEASE TAKE NOTICE that the law firm of Zuber Lawler & Del Duca LLP has changed

                    3 its name to Zuber Lawler LLP. All future reference to the firm in this matter should be to Zuber

                    4 Lawler LLP. The addresses, phone numbers and fax numbers for the firm and its individual

                    5 attorneys’ email addresses have not been affected by this change.

                    6

                    7 Dated: January 27, 2021                         Respectfully submitted,

                    8                                                 ZUBER LAWLER LLP
                                                                      MANUEL A. MEDRANO
                    9
                  10

                  11                                            By:          /s/ Manuel A. Medrano
                                                                      Attorneys for Defendant Rowland Marcus
                  12                                                  Andrade
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3161-1003 / 1743627.1                                  NOTICE OF CHANGE OF FIRM NAME
